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                               Exhibit A
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 GOLDSTEIN, JASON V FANDANGO MEDIA LLC
   appsgp.mypalmbeachclerk.com/eCaseView/search.aspx




   Docket       Effective
   Number       Date           Description             Notes

   2            02/08/2021     CIVIL COVER
                               SHEET

   3            02/08/2021     COMPLAINT               CLASS ACTION COMPLAINT; FB PLTF

   4            02/08/2021     SUMMONS                 efilings@shamisgentile.com
                               ISSUED                  FANDANGO MEDIA LLC SERVED

   1            02/09/2021     DIVISION                AJ: Circuit Civil Central - AJ (Civil)
                               ASSIGNMENT

   5            02/09/2021     PAID $411.00 ON         $411.00 3903518 Fully Paid
                               RECEIPT 3903518

   6            02/10/2021     NOTICE OF               F/B ATTY MANUEL S HIRALDO OBO
                               APPEARANCE              PLT
                               CIVIL

   7            02/18/2021     SERVICE                 RETURN OF SERVICE SERVED
                               RETURNED                FANDANGO MEDIA, LLC - 02/11/2021
                               (NUMBERED)




                                                                                                1/1
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